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     1                         UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
     2                              WESTERN DIVISION
     3

     4                                                 No. MDL 13-2424-GW(FFMx)
     5 In Re:                                          ORDER GRANTING FINAL
                                                       APPROVAL OF CLASS ACTION
     6          HYUNDAI AND KIA FUEL                   SETTLEMENT
                ECONOMY LITIGATION
     7

     8

     9

    10          Plaintiffs and Class Representatives Nicole Marie Hunter, Kaylene Brady,
    11 Travis Brissey, Ronald Burkard, Adam Cloutier, Steven Craig, John Dixson, Erin

    12 Fanthorpe, Thomas Ganim, Eric Hadesh, Michael Keeth, Lillian E. Levoff, John

    13 Kirk MacDonald, Michael Mandahl, Nicholas McDaniel, Mary Moran-Spicuzza,

    14 Gary Pincas, Brandon Potter, Thomas Purdy, Rocco Renghini, Michelle Singleton,

    15 Ken Smiley, Gregory M. Sonstein, Roman Starno, Gayle Stephenson, Andres

    16 Villicana, and Richard Williams (“Named Plaintiffs” or “Class Representatives”),

    17 individually and as representatives of a Class defined below, and Defendants

    18 Hyundai Motor America (“HMA”) and Kia Motors America, Inc. (“KMA”) moved

    19 this Court for an Order finally approving their settlement and taking certain other

    20 actions. On ____, 2015, the Court held a hearing on the motion and the fairness of

    21 the settlement.

    22          Upon considering the parties’ Amended Settlement Agreement, all papers in
    23 support of the settlement filed by the parties, any objections to the settlement, the

    24 arguments of counsel, and the entire record herein, it is hereby ORDERED as

    25 follows:

    26          1.    This Court has subject matter jurisdiction over this action and personal
    27 jurisdiction over the parties in this action.

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     1        2.     Capitalized terms not otherwise defined herein shall have the same
     2 meaning as set forth in the Amended Settlement Agreement.

     3        3.     The following nationwide class is certified for settlement purposes only
     4 pursuant to Federal Rule of Civil Procedure 23:

     5        All current and former owners and lessees of a Class Vehicle (i) who were the
     6 owner or lessee, on or before November 2, 2012, of such Class Vehicle that was

     7 registered in the District of Columbia or one of the fifty (50) states of the United

     8 States, except that the following are excluded: (i) Rental Fleet Owners;

     9 (ii) government entities, except to the extent that a government entity is the owner or

    10 lessee of a Fleet Class Vehicle (in which case such government entity is not

    11 excluded from the Class); (iii) judges assigned to the MDL Litigation, including the

    12 judge or judges assigned to any lawsuit prior to the transfer of that lawsuit to the

    13 MDL Litigation; and (iv) persons who have previously executed a release of HMA

    14 or KMA that includes a claim concerning the fuel economy of such Class Vehicle

    15 (hereinafter “Class” or “Settlement Class”).

    16        4.     The Court finds that certification of the Settlement Class is appropriate
    17 pursuant to Federal Rule of Civil Procedure 23 because:

    18               a.       The Settlement Class is so numerous that joinder of all members
    19 is impracticable, satisfying the requirement of Rule 23(a)(l);

    20               b.       There are questions of law or fact common to the Settlement
    21 Class, satisfying the requirements of Rule 23(a)(2), including: a) whether HMA and

    22 KMA violated federal law in connection with deriving or publishing the EPA fuel

    23 economy ratings of the Class Vehicles; b) whether the published fuel economy

    24 ratings of the Class Vehicles were inaccurate; and c) whether HMA and KMA

    25 engaged in an unlawful business practice by allegedly failing to disclose the

    26 accurate fuel economy ratings of the Class Vehicles.

    27               c.       The claims of Class Representatives are typical of the claims of
    28 the members of the Settlement Class, satisfying the requirements of Rule 23(a)(3);

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     1               d.       The representative parties will fairly and adequately protect the
     2 interests of the Settlement Class, satisfying the requirements of Rule 23(a)(4);

     3               e.       Questions of law or fact common to the members of the
     4 Settlement Class, as set forth above, predominate over questions affecting only

     5 individual members and a class action is superior to other methods available for the

     6 fair and efficient adjudication of the controversy, satisfying the requirements of Rule

     7 23(b)(3): and

     8               f.       The action is manageable as a class action for settlement
     9 purposes.

    10        5.     If this Order is set aside, materially modified, or overturned by this
    11 Court or on appeal, and is not fully reinstated on further appeal, this Order certifying

    12 a Settlement Class shall be vacated nunc pro tunc.

    13        6.     The Court has carefully considered and overruled any objections to the
    14 proposed settlement that have been filed.

    15        7.     The Court concludes that the proposed settlement is a fair, reasonable
    16 and adequate compromise of the claims asserted in this action.

    17        8.     The Court appoints Hagens Berman Sobol Shapiro LLP and
    18 McCuneWright, LLP as settlement class counsel.

    19        9.     The Court approves the terms of the Amended Settlement Agreement
    20 as fair, reasonable, and adequate as it applies to the Class Representatives and the

    21 members of the Class under Federal Rule of Civil Procedure 23. The Court further

    22 directs implementation of all terms and provisions of the Amended Settlement

    23 Agreement.

    24        10.    The Class Notice was disseminated in accordance with the procedures
    25 required by the Court’s August 29, 2014 Order and in accordance with applicable

    26 law.

    27        11.    All parties are bound by this Order and by the Amended Settlement
    28 Agreement.

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     1         12.   The Court dismisses, on the merits and with prejudice, all claims
     2 currently pending before it belonging to Class Members who did not request

     3 exclusion from the Class in the time and manner provided for in the Class Notice

     4 (“Settlement Class Members”).

     5         13.   The Court dismisses with prejudice Hunter, et al. v. HMA and KMA,
     6 No. 12-1909-GW(FFM) and Brady, et al. v. HMA and KMA, No. 12-1930-

     7 GW(FFM). The Court dismisses without prejudice Espinosa v. HMA, et al.,

     8 No. 2:12-cv-00800 GW (FFMx) and all other lawsuits centralized in this MDL in

     9 which the named plaintiffs in such lawsuit(s) did not timely exclude themselves

    10 from the settlement in accordance with the procedures set forth in the Class Notice.

    11         14.   As of the Effective Date of the Amended Settlement Agreement, the
    12 Releasors (as defined in the Amended Settlement Agreement) shall be deemed to

    13 hereby fully and irrevocably release, waive, and discharge the Releasees (as defined

    14 in the Amended Settlement Agreement), whether or not specifically named herein,

    15 from any and all past, present, and future liabilities, claims, causes of action

    16 (whether in contract, tort or otherwise, including statutory, common law, property,

    17 and equitable claims), damages, costs, attorneys’ fees, losses, or demands, whether

    18 known or unknown, existing or potential, or suspected or unsuspected, that (a) were

    19 asserted in the MDL Litigation (including lawsuits transferred to and centralized in

    20 the MDL Litigation) or (b) relate to (i) the fuel economy of one or more Class

    21 Vehicles (including, but not limited to, the actual or reported miles-per-gallon of

    22 fuel obtained or achieved in a Class Vehicle); (ii) the marketing or advertising of the

    23 fuel economy of such Class Vehicles and any related disclosures or alleged

    24 nondisclosures; or (iii) the disclosures, regulatory filings, transactions, actions,

    25 conduct, or events that are the subject of the MDL Litigation regarding the Class

    26 Vehicles (“Released Claims”); provided that the Released Claims shall include any

    27 unknown claims that a Settlement Class Member does not know to exist against any

    28 of the Releasees which relate to the fuel economy of one or more Class Vehicles

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     1 which, if known, might have affected his or her decision regarding the settlement of

     2 the MDL Litigation; provided further that the Class Representatives acknowledge

     3 that they and the other Settlement Class Members may hereafter discover facts in

     4 addition to or different from those that they now know or believe to be true

     5 concerning the subject matter of this release but the Released Claims shall

     6 nonetheless be deemed to include any and all Released Claims without regard to the

     7 existence of such different or additional facts concerning each of the Releasees.

     8 Notwithstanding the foregoing, no claims are released hereunder for: (i) personal

     9 injury; (ii) damage to tangible property other than a Class Vehicle; or (iii) any and

    10 all claims that pertain to anything other than the Class Vehicles.

    11        15.    All members of the Class who did not make a valid request for
    12 exclusion in the time and manner provided in the Class Notice are barred,

    13 permanently enjoined, and restrained from commencing or prosecuting any action,

    14 suit, proceeding, claim or cause of action in any jurisdiction or court against HMA,

    15 KMA, Hyundai America Technical Center, Inc. (also doing business as Hyundai-

    16 Kia America Technical Center), Hyundai Motor Company, Kia Motors Corporation,

    17 all affiliates of the Hyundai Motor Group or any other Releasee based upon, relating

    18 to, or arising out of, any of the Released Claims.

    19        16.    The Amended Settlement Agreement, acts performed in furtherance of
    20 the Amended Settlement Agreement or the settlement set forth therein, and

    21 documents executed in furtherance of the Amended Settlement Agreement or the

    22 settlement set forth therein may not be deemed or used as evidence of an admission

    23 or other statement supporting: (a) the validity of any claim made by the Class

    24 Representatives, Settlement Class Members, or Class Counsel (including the

    25 appropriateness of class certification); (b) any wrongdoing or liability of the

    26 Releasees; or (c) any fault or omission of the Releasees in any court, administrative

    27 agency, or other proceeding.

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     1        17.    Neither the Settlement Agreement (nor any Addendum thereto) nor the
     2 Amended Settlement Agreement shall be offered or be admissible in evidence

     3 against HMA, KMA, Hyundai America Technical Center, Inc. (also doing business

     4 as Hyundai-Kia America Technical Center), Hyundai Motor Company, Kia Motors

     5 Corporation, all affiliates of the Hyundai Motor Group, and/or their affiliates or

     6 cited or referred to in any action or proceeding, except in an action or proceeding

     7 that is in furtherance of its terms or brought to enforce its terms.

     8        18.    If this Order is set aside, materially modified, or overturned by this
     9 Court or on appeal, and is not fully reinstated on further appeal, this Order shall be

    10 deemed vacated and shall have no force or effect whatsoever.

    11        19.    Without affecting the finality of the Order in any way, the Court
    12 reserves continuing jurisdiction over the parties regarding the enforcement of the

    13 terms of the Amended Settlement Agreement.

    14

    15 DATED: June 11, 2015

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                                                Hon. George H. Wu
                                                U.S. District Court Judge
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